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   IT IS ORDERED as set forth below:



   Date: July 14, 2022
                                                  _________________________________

                                                           Jeffery W. Cavender
                                                      U.S. Bankruptcy Court Judge

 ________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      )       CASE NO. 20-60681-JWC
                                            )
JOHN JOSEPH OLIGA and                       )       CHAPTER 7
JEANINE BARKER OLIGA,                       )
                                            )
       Debtors.                             )
                                            )
                                            )
S. GREGORY HAYS, Trustee for the            )
Bankruptcy Estates of John Joseph Oliga and )
Jeanine Barker Oliga,                       )
                                            )
       Movant,                              )       CONTESTED MATTER
                                            )
V.                                          )
                                            )
DEKALB COUNTY TAX COMMISSIONER, )
JOHN JOSEPH OLIGA and                       )
JEANINE BARKER OLIGA,                       )
                                            )
       Respondents.                         )
                                            )

    ORDER ON TRUSTEE’S MOTION FOR AUTHORITY TO (I) SELL AT PUBLIC
   AUCTION PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF
     LIENS, INTERESTS, AND ENCUMBRANCES AND (II) DISBURSE CERTAIN
                          PROCEEDS AT CLOSING


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        On June 14, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of John Joseph Oliga and Jeanine Barker Oliga

(“Debtors”), filed Trustee’s Motion for Authority to (I) Sell at Public Auction Property of the

Bankruptcy Estate Free and Clear of Liens, Interests, and Encumbrances and (II) Disburse

Certain Proceeds at Closing [Doc. No. 75] (the “Sale Motion”), pursuant to 11 U.S.C. §§

363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014. In the Sale

Motion, Trustee is seeking, among other things, an order from the Court (a) authorizing the sale

(the “Sale”) of two (2) real properties known generally as: (a) 2471 Saint Patrick Street, SE,

Atlanta, DeKalb County, Georgia 30317; and (b) 2475 East Tupelo Street, SE, Atlanta, DeKalb

County, Georgia 30317 f.k.a. as 2475 Saint Patrick Street, SE, Atlanta, Georgia 30317 (together,

the “Properties”) at public auction (the “Auction”). The exact terms of the proposed Sale are

set forth in the Sale Motion. Absent unforeseeable circumstances, Trustee estimates that the

Auction will occur within thirty (30) to sixty (60) days of any order approving the proposed Sale.

        Also on June 14, 2022, Trustee filed a Notice of Trustee’s Motion for Authority to (I) Sell

at Public Auction Property of the Bankruptcy Estate Free and Clear of Liens, Interests, and

Encumbrances and (II) Disburse Certain Proceeds at Closing; Deadline to Object; and for

Hearing [Doc. No. 76] (the “Notice”) regarding the Sale Motion, in accordance with Second

Amended and Restated General Order No. 24-2018. Counsel for Trustee certifies that he served

the Notice on all requisite parties in interest on June 14, 2022. [Doc. No. 77].

        The Notice provided notice of the opportunity to object and for hearing scheduled for

July 28, 2022 at 11:00 a.m., pursuant to the procedures in Second Amended and Restated

General Order No. 24-2018. No creditor or party in interest filed an objection to the Sale Motion

prior to the objection deadline provided in the Notice.



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        Having considered the Sale Motion and all other matters of record, including the lack of

objection by any creditor or party in interest to the relief requested in the Sale Motion, and based

on the foregoing, finding that no further notice or hearing is necessary; and, the Court having

found good cause exists to grant the relief requested in the Sale Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED. It is further

        ORDERED that the Sale is APPROVED and Trustee is authorized to sell at the

Properties at public auction. It is further

        ORDERED that upon consummation of the Sale of the Properties, the transfer and

assignment of the Properties shall be free and clear of all liens, claims, interests, and

encumbrances of any kind or nature whatsoever, with any valid, perfected, enforceable, and

unavoidable lien attaching to the proceeds of the Sale with the same validity, priority, and extent

that it had in each of the Properties. It is further

        ORDERED that the sale of the Properties by Trustee is “as is,” “where is,” and without

representation or warranty, express or implied, from Trustee. It further

        ORDERED that Trustee is authorized to sign all documents necessary to transfer title of

the Properties as set forth herein. It is further

        ORDERED that Trustee is authorized to make those distributions set forth in the Sale

Motion, following the closing of the Sale. It is further

        ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from: (i) disputes or controversies relating to or concerning the Sale of the

Properties, and (ii) interpretation, implementation, and enforcement this Order. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of



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any person or entity obtaining a stay pending appeal, Trustee is authorized to proceed to auction

publicly the Properties at any time.

                                       [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Chapter 7 Trustee

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Identification of parties to be served:

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Peachtree Road, Atlanta, GA 30305

John Joseph Oliga, 265 Stoneleigh Dr SW, Atlanta, GA 30331-7665

Jeanine Barker Oliga, 265 Stoneleigh Dr SW, Atlanta, GA 30331-7665

Will B. Geer, Wiggam & Geer, LLC, Suite 1150, 50 Hurt Plaza SE, Atlanta, GA 30303

Irvin J. Johnson, DeKalb County Tax Commissioner, Property Tax Division, P.O. Box 100004,
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